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SPEARS & IMES           UP


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                                                                              September 6, 2019
         Via ECF

         Honorable Loma G. Schofield
         United States District Judge
         Southern District of New York
         40 Foley Square
         New York, New York 10007

                     Re: Jane Doe, et al. v. The Trump Corporation, et al., 18-cv-09936 (LGS)

         Dear Judge Schofield:

                Defendants respectfully request an adjustment to the briefing schedule set forth in the
         Court's order of yesterday (ECF No. 106) and certain additional relief as set forth below. We
         attempted to confer with Plaintiffs today, describing in an e-mail the relief we intend to seek
         from the Court and noting that we anticipate Plaintiffs will object, rather than consent, to the
         requested relief. We understand that Ms.Kaplan is traveling, Mr. Quinn is attending to a family
         member at the hospital and counsel may not be in a position to speak with us until Monday,
          September 9, which is three days before our brief is now due.

                 The Court has ordered Defendants to file a motion to compel arbitration without knowing
        Defendants' names or having the chance to conduct even limited discovery designed to (a) learn
        Plaintiffs' identities and (b) obtain the written agreements by which we believe Plaintiffs agreed
        to submit to mandatory arbitration. The Court's proposal that Defendants "assume ...for
        purposes of this motion that Plaintiffs and the putative class members agreed with ACN to
        arbitrate" is untenable, given that Defendants bear the burden of proving that Plaintiffs in fact
        agreed to arbitrate with ACN. See, e.g., Dreyfuss v. Etelecare Glob. Sols.-US. Inc., 349 F.
        App'x. 551, 554-55 (2d Cir. 2009). For example, were Defendants to move to compel arbitration
        assuming, without proving, that Plaintiffs agreed to arbitrate with ACN, and were the Court to
        deny the motion on the merits, Defendants would take an immediate appeal from that decision as
        of right. See 9 U.S.C. § 16. Were the Court of Appeals inclined to reverse and compel Plaintiffs
        to arbitrate, it could not do so without first remanding the case to this Court to permit Defendants
        to engage in the fact development they now seek, risking piecemeal appeals and waste, outcomes
        we do not believe the Court intended by its September 5 order.

                As set forth in more detail below, Defendants respectfully request that the Court enlarge
        the time for briefing the motion to compel arbitration, so that Defendants may (a) obtain
        Plaintiffs' identities and (b) take limited discovery in order to obtain copies of the arbitration
        agreements at issue. Defendants further request that the Court enter the protective order
        submitted to Chambers today (the content of which Plaintiffs approved at the September 5
        conference) and direct Plaintiffs to respond to the two interrogatories attached to this letter
        (served by Defendants earlier today) by no later than September 11, 2019. Defendants further
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propose that they be permitted to file their motion to compel on or before September 26, 2019;
that Plaintiffs be required to file any opposition by October 10, 2019; that Defendants be
required to file any reply by October 17, 2019; and that the Court extend by four weeks all of the
dates contained in the Civil Case Management Plan and Scheduling Order issued by the Court
yesterday (ECF No. 107).

        Procedural Posture & Background. On October 29, 2018, Plaintiffs filed this action
under pseudonyms and moved the Court for permission to remain anonymous. (ECF No. 3.)
Defendants opposed that request. (ECF No. 46.) On December 20, 2018, the Court granted the
motion, allowing Plaintiffs to remain anonymous not only on the docket, but also from
Defendants and their counsel, pending decision on Defendants' anticipated motion to dismiss for
failure to state a claim. (ECF No. 54.) At the same time, the Court granted Defendants' motion
to stay discovery pending decision on the motion to dismiss. (Id.) By March 14, 2019,
Defendants motion to dismiss was fully briefed. Four months later, on July 11, 2019 Defendants
advised Plaintiffs that, were the Court to deny the motion to dismiss, Defendants would seek to
stay the action in favor of arbitration. (ECF No. 94, Ex. A). Plaintiffs responded in writing, and
on July 19, 2019, Defendants submitted the parties' correspondence to the Court, stating:

       The Court's Individual Rules and Procedures ordinarily do not provide for such
       correspondence to be filed with the Court. Because the contemplated motion to
       compel arbitration would be dispositive, if granted, and because there is already
       pending a dispositive motion, we write respectfully to request the Court's
       guidance as to how to proceed.
(ECF No. 94.) On July 24, 2019, the Court issued an order granting in part and denying in part
Defendants' motion to dismiss (ECF No. 97), thereby dissolving Plaintiffs' right to remain
anonymous absent renewal of their October 18, 2018 motion to proceed pseudonymously. (ECF
No. 54.) On August 1, 2019, the Court directed the parties to appear for a conference on
September 5, 2019, and, in advance thereof (on August 29), to file a joint submission addressing
the anticipated motion to compel arbitration and proposing a schedule for the briefing. (ECF No.
102.)

         On July 31, 2019, Defendants requested Plaintiffs' identities on a "lawyers' eyes only"
basis in order to begin the process of obtaining the arbitration agreements and be ready to file the
motion to compel arbitration by the next conference or shortly thereafter. (ECF No. 104, Ex. B).
Those efforts were unavailing. (ECF No. 104 at 9-10.) On August 29, 2019, Defendants briefed
the Court on their unsuccessful efforts to obtain Plaintiffs' identities. (ECF No. 104 at 9-10). At
the September 5 conference, the Court questioned whether Defendants have waived their right to
seek to compel Plaintiffs to arbitrate in this case by filing their motion to dismiss. Following
extensive discussion about the forthcoming motion to compel arbitration - including the
Defendants' burden to prove Plaintiffs in fact agreed to mandatory arbitration with ACN - we
understood the Court to invite Defendants to brief the issue of waiver, only, and to do so by
September 12. Defendants agreed to that schedule. Later the same day, the Court issued an
order directing Defendants instead to file "a motion to compel arbitration" and to "assume only
for purposes of this motion that that Plaintiffs and the putative class members agreed with ACN
to arbitrate." (ECF No. 106.) "[A]mending the Court's statement at the conference," the Court
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    further directed Plaintiffs in their opposition to address waiver "principally" but also "any other
    argument." (Id.)

        Also on September 5, the Court lifted the discovery stay in place, unleashing Plaintiffs to
begin to serve, at this writing, no fewer than 29 Rule 45 subpoenas to third parties in order to
obtain discovery the Second Circuit recognizes would be unavailable in arbitration. 1 This,
before Defendants' motion is even briefed, much less decided and, if need be, appealed, as
contemplated by the FAA. All while Plaintiffs' identities yet remain shielded from Defendants
and their counsel.

        Discussion. The Court should enlarge the briefing schedule set for Defendants' motion
to compel arbitration to allow Defendants time within which to develop the facts required to
meet their burden of proof. Defendants anticipate that, if the Court orders Plaintiffs to respond to
the two interrogatories attached to this letter by Wednesday, September 11, 2019, Defendants
will be in a position to file their motion on or before September 26, 2019, provided ACN
possesses the documents in question and is willing to produce them to Defendants expeditiously.

         Although district courts have "wide latitude to determine the scope of discovery," a
"party must be afforded a meaningful opportunity to establish the facts necessary to support his
claim." In re Agent Orange Prod. Liab. Litig., 517 F.3d 76, 103 (2d Cir. 2008). Accordingly, a
district court abuses its discretion where "'discovery is so limited as to affect a party's
substantial rights."' Id. (quoting Long Island Lighting Co. v. Barbash, 779 F.2d 793, 795 (2d
Cir. 1985)). The Second Circuit reaffirmed this principle last month in In re 650 Fifth Avenue
and Related Properties, No. 17-3258(L), 2019 WL 3756033, at *20 (2d Cir. Aug. 9, 2019), when
it found the District Court abused its discretion by rejecting a statute of limitations defense "on a
'hardly developed' record and 'without affording the Claimants any - let alone a full and fair -
opportunity to present evidence as to the applicability of the defense."' Id. at *6 (quoting In re
650 Fifth Avenue and Related Properties, 830 F.3d 66, 97 (2d Cir. 2016)). The Court reversed
and remanded, noting the trial "court offered no compelling reason" why the party from which
the defendants had sought discovery "would have been unduly prejudiced or burdened by the
delay, if any, of limited discovery" regarding the "potentially dispositive affirmative
defense." Id.

       Further, because an order refusing to stay the action in favor of arbitration may be
appealed immediately, the Court should allow Defendants to develop a complete record
regarding arbitrability in order to preserve the "historic federal policy against piecemeal
appeals." Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 8 (1980) (discussing entry of
judgement under Rule 54(b)) (internal quotation marks omitted).




1
  Arbitrators are not authorized to "compel pre-hearing document discovery from entities not party to the
arbitration proceedings." Life Receivables Tr. v. Syndicate 102 at Lloyd's ofLondon, 549 F.3 d 210, 216-
1 7 (2d Cir. 2008).
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        For the foregoing reasons, we ask that the Court enter an order providing the relief set
forth in the third full paragraph of this letter.


                                                      Respectfully submitted,
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                                                     Joanna C. Hendon


Encl.
